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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES,

       Plaintiff,
                                                       Case No.      11-20129
v.

SALVATORE BATTALGLIA (D-33),

       Defendant.
                                           /

     OPINION AND ORDER DENYING DEFENDANT’S MOTION TO DISMISS FOR
                   VIOLATION OF THE FIFTH AMENDMENT

       Defendant Salvatore Battalgia accused of conspiracy to manufacture, distribute,

and possess with intent to distribute controlled substances. If convicted, Defendant

faces a minimum sentence of 10 years in prison. A magistrate judge ordered him

detained pending trial on July 16, 2012, and he has remained in custody since that time.

Given the complexity of this case, which is brought against 41 defendants, trial has

been delayed to allow adequate time for, among other things, all of the defendants to

review the electronic discovery, litigation of multiple motions, and resolution of

interlocutory appeals. Defendant moves to dismiss the charges against him due to an

alleged violation of the due process clause of the United States Constitution’s Fifth

Amendment. The Government opposes the motion, and Defendant has been deemed

to have waived a hearing on his motion. (See 10/01/13 Text Entry Order.) The court

finds no violation of the Fifth Amendment and will deny the motion.

       Defendant argues that he is charged in this case as an “alleged peripheral

conspirator,” letting a codefendant “manufacture methamphetame one time in the last
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[seven] years on rural property [Defendant] no longer owns.” (Def.’s Mot. at 3.) He

complains that his pretrial detention is being used as a form of punishment, in violation

of his Fifth Amendment due process rights, and “notes a disturbing trend in this case:

pretrial release is being afforded only to Defendants who waive their 5th Amendment

rights and cooperate with the government.” (Id. at 3-4.) In a response filed under seal,

the Government disputes these factual contentions, providing an outline of the evidence

against Defendant and also questioning the basis for Defendant’s unsupported

allegation regarding alleged cooperating defendants.*

           Pretrial detention violates the Fifth Amendment when it amounts to “punishment

of the detainee.” Bell v. Wolfish, 441 U.S. 520, 535 (1979). The Sixth Circuit has

identified four factors to be considered in determining if the pretrial detention is

unconstitutionally excessive: (1) the length of the detention; (2) the extent of the

prosecution's responsibility for the delay of the trial; (3) the gravity of the charges; and

(4) the strength of the evidence upon which the detention was based. United States v.

Watson, 475 F. App’x 598, 601 (6th Cir. 2012) (citing United States v. El–Hage, 213

F.3d 74, 79 (2nd Cir. 2000)). Here the length of the pretrial detention (about a year and

a half) does not outweigh the other three factors, all of which weigh against a finding of

a constitutional violation.

       Having reviewed an outline of the case against Defendant, the court does not

agree with his allegations that the case against him is “tenuous or marginal,” (Def.’s

Mot. at 4), but instead the court finds that the gravity of the charges is quite significant.


       *
         Indeed, Defendant provides no evidence, nor does he even articulate examples,
of this rather serious allegation.

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Moreover, as found in previous orders of the court, the evidence upon which

Defendant’s continued detention rests--including particularly persuasive evidence of

dangerousness--is quite strong. Finally, it is not true, as Defendant intimates, that the

Government bears the responsibility for the delay in this case. The court has already

found in other orders entered contemporaneously to this one that the progression of this

case has been closely monitored and has attributed to the complexity of the charges,

the numerosity defendants, and the voluminousness of the electronic discovery.

          Defendant’s motion is baseless. There is no Fifth Amendment violation, at this

point, in Defendant’s continued detention. Accordingly,

          IT IS ORDERED that the motion to dismiss for an alleged violation of the Fifth

Amendment [Dkt. # 666] is DENIED.

                                                               s/Robert H. Cleland
                                                              ROBERT H. CLELAND
                                                              UNITED STATES DISTRICT JUDGE
Dated: December 27, 2013

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 27, 2013, by electronic and/or ordinary mail.

                                                               s/Lisa Wagner
                                                              Case Manager and Deputy Clerk
                                                              (313) 234-5522




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